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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

SPORTCO HOLDINGS, INC., et al.,1                               Case No. 19-11299 (LSS)

                            Debtors.                           (Jointly Administered)


    GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY AND
       DISCLAIMER REGARDING DEBTORS’ SCHEDULES OF ASSETS AND
           LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS2

        SportCo Holdings, Inc. (“SportCo”) and its debtor affiliates, as debtors and debtors in
possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), with the
assistance of their advisors, have filed their respective Schedules of Assets and Liabilities (the
“Schedules”) and Statements of Financial Affairs (the “Statements,” and together with the
Schedules the “Schedules and Statements”) with the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”), pursuant to section 521 of title 11 of the United
States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”).

       These Global Notes and Statement of Limitations, Methodology and Disclaimer
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part
of all of the Debtors’ Schedules and Statements. The Global Notes should be referred to,
considered, and reviewed in connection with any review of the Schedules and Statements.

        The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),
nor are they intended to be fully reconciled with the financial statements of each Debtor.
Additionally, the Schedules and Statements contain unaudited information that is subject to
further review and potential adjustment, and reflect the Debtors’ reasonable best efforts to report
the assets and liabilities of each Debtor on an unconsolidated basis.

       In preparing the Schedules and Statements, the Debtors relied upon information derived
from their books and records that was available at the time of such preparation. Although the


1
 The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Bonitz
Brothers, Inc. (4441); Ellett Brothers, LLC (7069); Evans Sports, Inc. (2654); Jerry’s Sports, Inc. (4289); Outdoor
Sports Headquarters, Inc. (4548); Quality Boxes, Inc. (0287); Simmons Guns Specialties, Inc. (4364); SportCo
Holdings, Inc. (0355); and United Sporting Companies, Inc. (5758). The location of the Debtors’ corporate
headquarters and the service address for all Debtors is 267 Columbia Ave., Chapin, SC 29036.
2
 A Statement of Financial Affairs or a Schedule of Assets and Liabilities for a particular Debtor begins immediately
after these Global Notes (as defined below).


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Debtors have made reasonable efforts to ensure the accuracy and completeness of such financial
information, inadvertent errors or omissions, as well as the discovery of conflicting, revised, or
subsequent information, may cause a material change to the Schedules and Statements.
Accordingly, the Debtors reserve all of their rights to amend, supplement, or otherwise modify
the Schedules and Statements as is necessary and appropriate. Notwithstanding the foregoing, the
Debtors shall not be required to update the Schedules and Statements.

        Mr. Dalton Edgecomb has signed each of the Schedules and Statements. Mr. Edgecomb
is the Debtors’ Chief Restructuring Officer and an authorized signatory for each of the Debtors.
In reviewing and signing the Schedules and Statements, Mr. Edgecomb necessarily has relied
upon the efforts, statements, and representations of various personnel employed by the Debtors
and their advisors. Mr. Edgecomb has not (and could not have) personally verified the accuracy
of each statement and representation contained in the Schedules and Statements, including
statements and representations concerning amounts owed to creditors, classification of such
amounts, and creditor addresses.

                                Global Notes and Overview of Methodology

1.       Reservation of Rights. Reasonable efforts have been made to prepare and file complete
and accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The
Debtors reserve all rights to amend or supplement the Schedules and Statements from time to
time, in all respects, as may be necessary or appropriate, including, without limitation, the right
to amend the Schedules and Statements with respect to claim (“Claim”) description, designation,
or Debtor against which the Claim is asserted; dispute or otherwise assert offsets or defenses to
any Claim reflected in the Schedules and Statements as to amount, liability, priority, status, or
classification; subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;”
or object to the extent, validity, enforceability, priority, or avoidability of any Claim. Any failure
to designate a Claim in the Schedules and Statements as “disputed,” “contingent,” or
“unliquidated” does not constitute an admission by the Debtors that such Claim or amount is not
“disputed,” “contingent,” or “unliquidated.” Listing a Claim does not constitute an admission of
liability by the Debtor against which the Claim is listed or against any of the Debtors.
Furthermore, nothing contained in the Schedules and Statements shall constitute a waiver of
rights with respect to the Debtors’ chapter 11 cases, including, without limitation, issues
involving Claims, substantive consolidation, defenses, equitable subordination,
recharacterization, and/or causes of action arising under the provisions of chapter 5 of the
Bankruptcy Code and any other relevant non-bankruptcy laws to recover assets or avoid
transfers. Any specific reservation or rights contained elsewhere in the Global Notes does not
limit in any respect the general reservation of rights contained in this paragraph.

The listing in the Schedules or Statements (including, without limitation, Schedule B, Schedule F
or Statement 3(c)) by the Debtors of any obligation between a Debtor and another Debtor or
between a Debtor and a non-Debtor affiliate is a statement of what appears in the Debtors’ books
and records and does not reflect any admission or conclusion of the Debtors regarding whether
such amount would be allowed as a Claim or how such obligations may be classified and/or
characterized in a plan of reorganization or by the Bankruptcy Court. The Debtors reserve all
rights with respect to such obligations.


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2.      Description of Cases and “as of” Information Date. On June 10, 2019 (the “Petition
Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code.
The Debtors are operating their businesses and managing their properties as debtors in
possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On June 11, 2019, the
Bankruptcy Court entered an order directing procedural consolidation and joint administration of
the Debtors’ chapter 11 cases [Docket No. 38]. On June 17, 2019, the United States Trustee for
the District of Delaware appointed a statutory committee of unsecured creditors pursuant to
section 1102(a)(1) of the Bankruptcy Code [Docket No. 58]. The asset information provided
herein, except as otherwise noted, represents the asset data of the Debtors as of the close of
business on June 9, 2019, and the liability information provided herein, except as otherwise
noted, represents the liability data of the Debtors as of the close of business on June 9, 2019.

3.      Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and
an inefficient use of estate assets for the Debtors to obtain current market valuations for all of
their assets. Accordingly, unless otherwise indicated, the Debtors’ Schedules and Statements
reflect net book values as of June 9, 2019. Furthermore, assets that have fully depreciated or
were expensed for accounting purposes do not appear in these Schedules and Statements as they
have no net book value.

4.      Recharacterization. Notwithstanding the Debtors’ reasonable best efforts to properly
characterize, classify, categorize or designate certain Claims, assets, executory contracts,
unexpired leases and other items reported in the Schedules and Statements, the Debtors may
nevertheless have improperly characterized, classified, categorized, designated, or omitted
certain items due to the complexity and size of the Debtors’ business. Accordingly, the Debtors
reserve all of their rights to recharacterize, reclassify, recategorize, redesignate, add or delete
items reported in the Schedules and Statements at a later time as is necessary or appropriate as
additional information becomes available, including, without limitation, whether contracts or
leases listed herein were deemed executory or unexpired as of the Petition Date and remain
executory and unexpired post-petition.

5.      Liabilities. The Debtors have sought to allocate liabilities between the prepetition and
post-petition periods based on the information and research conducted in connection with the
preparation of the Schedules and Statements. As additional information becomes available and
further research is conducted, the allocation of liabilities between the prepetition and postpetition
periods may change. Accordingly, the Debtors reserve all of their rights to amend, supplement or
otherwise modify the Schedules and Statements as is necessary or appropriate. The liabilities
listed on the Schedules do not reflect any analysis of Claims under section 503(b)(9) of the
Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to dispute or challenge the
validity of any asserted Claims under section 503(b)(9) of the Bankruptcy Code or the
characterization of the structure of any such transaction or any document or instrument related to
any creditor’s Claim.

6.      Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets,
tax accruals, and liabilities from the Schedules and Statements, including, without limitation,
accrued salaries, employee benefit accruals, and deferred gains. The Debtors also have excluded
rejection damage Claims of counterparties to executory contracts and unexpired leases that may


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be rejected, to the extent such damage Claims exist. In addition, certain immaterial assets and
liabilities may have been excluded.

7.       Insiders. Solely, for purposes of the Schedules and Statements, the Debtors define
“insiders” to include the following: (a) directors; (b) executives; (c) equity holders holding in
excess of 10% of the voting securities of one of the Debtor entities; (d) Debtor/non-Debtor
affiliates; and (e) relatives of any of the foregoing (to the extent known by the Debtors).

Persons listed as “insiders” have been included for informational purposes only. The Debtors do
not take any position with respect to: (a) such person’s influence over the control of the Debtors;
(b) the management responsibilities or functions of such individual; (c) the decision-making or
corporate authority of such individual; or (d) whether such individual could successfully argue
that he or she is not an “insider” under applicable law, including the federal securities laws, or
with respect to any theories of liability or for any other purpose.

8.      Intellectual Property Rights. Exclusion of certain intellectual property shall not be
construed as an admission that such intellectual property rights have been abandoned,
terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
acquisition, or other transaction. Conversely, inclusion of certain intellectual property shall not
be construed to be an admission that such intellectual property rights have not been abandoned,
terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
acquisition, or other transaction.

In addition, although the Debtors have made diligent efforts to attribute intellectual property to
the rightful Debtor entity, in certain instances, intellectual property owned by one Debtor may, in
fact, be owned by another Debtor or by an affiliate. Accordingly, the Debtors reserve all of their
rights with respect to the legal status of any and all such intellectual property rights.

9.      Executory Contracts. Although the Debtors made diligent attempts to attribute an
executory contract to its rightful Debtor, in certain instances, the Debtors may have inadvertently
failed to do so due to the complexity and size of the Debtors’ business. Accordingly, the Debtors
reserve all of their rights with respect to the named parties of any and all executory contracts,
including the right to amend Schedule G.

10.     Classifications. Listing a Claim on (a) Schedule D as “secured,” (b) Schedule E as
“priority,” (c) Schedule F as “unsecured,” or (d) listing a contract on Schedule G as “executory”
or “unexpired,” does not constitute an admission by the Debtors of the legal rights of the
Claimant or a waiver of the Debtors’ rights to recharacterize or reclassify such Claims or
contracts or to setoff of such Claims.

11.     Claims Description. Schedules D, E, and F permit each of the Debtors to designate a
Claim as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
constitute an admission by that Debtor that such amount is not “disputed,” “contingent,” or
“unliquidated,” or that such Claim is not subject to objection. The Debtors reserve all of their
rights to dispute, or assert offsets or defenses to, any Claim reflected on their respective
Schedules and Statements on any grounds, including liability or classification. Additionally, the


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Debtors expressly reserve all of their rights to subsequently designate such Claims as “disputed,”
“contingent,” or “unliquidated.” Moreover, listing a Claim does not constitute an admission of
liability by the Debtors.

12.      Causes of Action. Despite their reasonable efforts to identify all known assets, the
Debtors may not have listed all of their causes of action or potential causes of action against
third-parties as assets in the Schedules and Statements, including, without limitation, causes of
actions arising under the provisions of chapter 5 of the Bankruptcy Code and any other relevant
non-bankruptcy laws to recover assets or avoid transfers. The Debtors reserve all of their rights
with respect to any cause of action (including avoidance actions), controversy, right of setoff,
cross-Claim, counter-Claim, or recoupment and any Claim on contracts or for breaches of duties
imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation,
liability, damage, judgment, account, defense, power, privilege, license, and franchise of any
kind or character whatsoever, known, unknown, fixed or contingent, matured or unmatured,
suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition
Date, in contract or in tort, in law, or in equity, or pursuant to any other theory of law
(collectively, “Causes of Action”) they may have, and neither these Global Notes nor the
Schedules and Statements shall be deemed a waiver of any Claims or Causes of Action or in any
way prejudice or impair the assertion of such Claims or Causes of Action.

13.     Summary of Significant Reporting Policies. The following is a summary of significant
reporting policies:

         a.        Undetermined Amounts. The description of an amount as
                   “unknown,” “TBD” or “undetermined” is not intended to reflect
                   upon the materiality of such amount.

         b.        Totals. All totals that are included in the Schedules and actual total
                   may be different than the listed total.

         c.        Paid Claims. The Debtors were authorized (but not directed) to pay
                   certain outstanding prepetition Claims pursuant to various interim
                   orders entered by the Bankruptcy Court on June 11, 2019.
                   Accordingly, certain outstanding liabilities may have been reduced
                   by post-petition payments made on account of prepetition
                   liabilities. To the extent the Debtors pay any of the Claims listed in
                   the Schedules and Statements pursuant to any orders entered by the
                   Bankruptcy Court, the Debtors reserve all of their rights to amend
                   or supplement the Schedules and Statements or take other action as
                   is necessary or appropriate to avoid over-payment of or duplicate
                   payments for any such liabilities.

         d.        Excluded Assets and Liabilities. The Debtors have excluded
                   certain accrued liabilities, including accrued salaries and employee
                   benefits from the Schedules and Statements. Certain other
                   immaterial assets and liabilities may also have been excluded.


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         e.        Liens. Property and equipment listed in the Schedules and
                   Statements are presented without consideration of any liens that
                   may attach (or have attached) to such property and equipment.

14.     Estimates. To prepare and file the Schedules in accordance with the deadline established
in the Chapter 11 Cases, management was required to make certain estimates and assumptions
that affected the reported amounts of these assets and liabilities. The Debtors reserve all rights to
amend the reported amounts of assets and liabilities to reflect changes in those estimates or
assumptions.

15.      Currency. Unless otherwise indicated, all amounts are reflected in U.S. Dollars.

16.     Setoffs. The Debtors incur certain offsets and other similar rights during the ordinary
course of business. Offsets in the ordinary course can result from various items, including,
without limitation, intercompany transactions, pricing discrepancies, returns, warranties, and
other disputes between the Debtors and their suppliers. These offsets and other similar rights are
consistent with the ordinary course of business in the Debtors’ industry and are not tracked
separately. Therefore, although such offsets and other similar rights may have been accounted
for when certain amounts were included in the Schedules, offsets are not independently
accounted for, and as such, are excluded from the Debtors’ Schedules and Statements.

17.    Global Notes Control. In the event that the Schedules and Statements differ from the
foregoing Global Notes, the Global Notes shall control.

                      Specific Disclosures with Respect to the Debtors’ Schedules

Schedules A/B.

         Lines 2 and 3. Cash values held in financial accounts are listed as of June 9, 2019.

         Line 15. Ownership interests in subsidiaries, partnerships, and joint ventures have
         been listed as an undetermined amount on account of the fact that the fair market
         value of such ownership is dependent on numerous variables and factors and may
         differ significantly from their net book value.

         Line 60. Patents, Trademarks, and other Intellectual Property are listed as an
         undetermined amount on account of the fact that the fair market value of such
         ownership is dependent on numerous variables and factors and may differ
         significantly from their net book value.

         Line 63. Customer Lists are listed as an undetermined amount on account of the
         fact that the fair market value of such ownership is dependent on numerous
         variables and factors and may differ significantly from their net book value.

         Lines 64 and 65. Intangible Assets and Goodwill are listed as an undetermined
         amount on account of the fact that the fair market value of such intangible items
         such as Goodwill, Non-Compete Agreements and Trade Names is dependent on


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         numerous variables and factors and may differ significantly from their net book
         value.

Schedule D. Except as otherwise agreed pursuant to a stipulation or order entered by the
Bankruptcy Court, the Debtors reserve their rights to dispute or challenge the validity, perfection,
or immunity from avoidance of any lien purported to be granted or perfected in any specific asset
of a secured creditor listed on Schedule D of any Debtor. Moreover, although the Debtors have
scheduled Claims of various creditors as secured Claims, the Debtors reserve all of their rights to
dispute or challenge the secured nature of any such creditor’s Claim or the characterization of the
structure of any such transaction or any document or instrument related to such creditor’s Claim.
The descriptions provided on Schedule D are solely intended to be a summary—and not an
admission—of liability.

Reference to the applicable loan agreements and related documents is necessary for a complete
description of the collateral and the nature, extent, and priority of liens. Nothing in the Global
Notes or the Schedules and Statements shall be deemed a modification or interpretation of the
terms of such agreements. Except as specifically stated on Schedule D, real property lessors,
utility companies, and other parties that may hold security deposits have not been listed on
Schedule D. The Debtors reserve all of their rights to amend Schedule D to the extent that the
Debtors determine that any Claims associated with such agreements should be reported on
Schedule D. Nothing herein shall be construed as an admission by the Debtors of the legal rights
of the Claimant or a waiver of the Debtors’ rights to recharacterize or reclassify such Claim or
contract.

Moreover, the Debtors have not included on Schedule D parties that may believe their Claims are
secured through setoff rights or inchoate statutory lien rights. The amounts outstanding under the
Debtors’ prepetition secured credit facilities reflect approximate amounts as of the Petition Date.

Schedule E. The Debtors have been authorized by order of the Bankruptcy Court to pay certain
prepetition liabilities, including the authority to pay employee wages and other employee
benefits in the ordinary course of business (the “Final Order Authorizing the Debtors to Pay
Prepetition Employee Wages, Benefits, and Related Items” [Docket No. 136]). As a result of this
order, the Debtors believe that any employee claims for prepetition amounts related to ongoing
payroll and benefits, whether allowable as a priority or nonpriority claim, have been or will be
satisfied, and such amounts are not listed on Schedule E.

The listing of any claim on Schedule E does not constitute an admission by the Debtors that such
claim is entitled to priority treatment under 11 U.S.C. § 507. The Debtors reserve their right to
dispute the priority status of any claim on any basis. Moreover, the listing of any tax claim on
Schedule E is not an admission or designation by the Debtors that such claim is a prepetition tax
claim. The Debtors reserve their right to treat any of these claims as post-petition claims.

Schedule F. The Debtors have used best reasonable efforts to report all general unsecured
Claims against the Debtors on Schedule F based upon the Debtors’ existing books and records as
of the Petition Date. The Claims of individual creditors for, among other things, products, goods,
or services are listed as either the lower of the amounts invoiced by such creditor or the amounts
entered on the Debtors’ books and records and may not reflect credits or allowances due from


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such creditors to the applicable Debtor. The Debtors reserve all of their rights with respect to any
such credits and allowances including the right to assert objections and/or setoffs with respect to
same. Schedule F does not include certain deferred charges, deferred liabilities, accruals, or
general reserves. Such amounts are, however, reflected on the Debtors’ books and records as
required in accordance with GAAP. Such accruals are general estimates of liabilities and do not
represent specific Claims as of the Petition Date. The Debtors have made every effort to include
as a contingent, unliquidated, or disputed the Claim of any vendor not included on the Debtors’
open accounts payable that is associated with an account that has an accrual or receipt not
invoiced.

The Claims listed on Schedule F arose or were incurred on various dates. In certain instances, the
date on which a Claim arose is an open issue of fact. Although reasonable efforts have been
made to identify the date of incurrence of each Claim, determining the date upon which each
Claim on Schedule F was incurred or arose would be unduly burdensome and cost prohibitive
and, therefore, the Debtors do not list a date for each Claim listed on Schedule F. Certain Debtors
may pay Claims listed on Schedule F during this chapter 11 case pursuant to orders of the
Bankruptcy Court and reserve all of their rights to update Schedule F to reflect such payments.

Schedule F contains information regarding pending litigation involving the Debtors. The dollar
amount of potential Claims associated with any such pending litigation is listed as
“undetermined” and marked as contingent, unliquidated, and disputed in the Schedules and
Statements. Some of the litigation Claims listed on Schedule F may be subject to subordination
pursuant to section 510 of the Bankruptcy Code.

Schedule F also includes potential or threatened legal disputes that are not formally recognized
by an administrative, judicial, or other adjudicative. Any information contained in Schedule F
with respect to such potential litigation shall not be a binding representation of the Debtors’
liabilities with respect to any of the potential suits and proceedings included therein.

Schedule F reflects unsecured Claims that a Debtor may have against another Debtor on account
of intercompany receivables and payables. To the extent a Debtor has a Claim against another
Debtor on account of the Debtors’ prepetition secured facilities, these Claims are not reflected on
Schedule F.

Schedule G. The Debtors’ businesses are complex. Although the Debtors’ existing books,
records and financial systems have been relied upon to identify and schedule executory contracts
at each of the Debtors and diligent efforts have been made to ensure the accuracy of each
Debtor’s Schedule G, inadvertent errors, omissions or over-inclusions may have occurred.
Certain information, such as the contact information of the counter-party, may not be included
where such information could not be obtained using the Debtors’ reasonable efforts. Listing a
contract or agreement on Schedule G does not constitute an admission that such contract or
agreement is an executory contract or unexpired lease or that such contract or agreement was in
effect on the Petition Date or is valid or enforceable. The Debtors hereby reserve all of their
rights to dispute the validity, status or enforceability of any contracts, agreements or leases set
forth on Schedule G and to amend or supplement Schedule G as necessary. Certain of the leases
and contracts listed on Schedule G may contain certain renewal options, guarantees of payment,
indemnifications, options to purchase, rights of first refusal and other miscellaneous rights. Such

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rights, powers, duties and obligations are not set forth separately on Schedule G. Certain
confidentiality and non-compete agreements may not be listed on Schedule G. The Debtors
reserve all of their rights with respect to such agreements.

Certain of the contracts and agreements listed on Schedule G may consist of several parts,
including, purchase orders, amendments, restatements, waivers, letters and other documents that
may not be listed on Schedule G or that may be listed as a single entry. The Debtors expressly
reserve their rights to challenge whether such related materials constitute an executory contract, a
single contract or agreement or multiple, severable or separate contracts.

The contracts, agreements, and leases listed on Schedule G may have expired or may have been
modified, amended or supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letters, memoranda and other documents, instruments, and
agreements that may not be listed therein despite the Debtors’ use of reasonable efforts to
identify such documents. Further, unless otherwise specified on Schedule G, each executory
contract or unexpired lease listed thereon shall include all exhibits, schedules, riders,
modifications, declarations, amendments, supplements, attachments, restatements, or other
agreements made directly or indirectly by any agreement, instrument, or other document that in
any manner affects such executory contract or unexpired lease, without respect to whether such
agreement, instrument, or other document is listed thereon. In some cases, the same supplier or
provider appears multiple times on Schedule G. This multiple listing is intended to reflect
distinct agreements between the applicable Debtor and such supplier or provider.

The Debtors reserve all of their rights, Claims and causes of action with respect to the contracts
on Schedule G, including the right to dispute or challenge the characterization of the structure of
any transaction or any document or instrument related to a creditor’s Claim.

In addition, the Debtors may have entered into various other types of agreements in the ordinary
course of their businesses, such as subordination, nondisturbance and attornment agreements,
supplemental agreements, amendments/letter agreements, title agreements, indemnity
agreements, and confidentiality agreements. Such documents may not be set forth on Schedule
G. Further, the Debtors reserve all of their rights to alter or amend these Schedules to the extent
that additional information regarding the Debtor obligor to such executory contracts becomes
available. Certain of the executory agreements may not have been memorialized and could be
subject to dispute. Executory agreements that are oral in nature have not been included on
Schedule G.

Omission of a contract or agreement from Schedule G does not constitute an admission that such
omitted contract or agreement is not an executory contract or unexpired lease. The Debtors’
rights under the Bankruptcy Code with respect to any such omitted contracts or agreements are
not impaired by the omission.

The listing of any contract on Schedule G does not constitute an admission by the Debtors as to
the validity of any such contract or that such contract is an executory contract or unexpired lease.
The Debtors reserve all of their rights to dispute the effectiveness of any such contract listed on
Schedule G or to amend Schedule G at any time to remove any contract.



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Schedule H. For purposes of Schedule H, the Debtors that are either the principal obligors or
guarantors under the prepetition debt facilities are listed as Co-Debtors on Schedule H. The
Debtors may not have identified certain guarantees associated with the Debtors’ executory
contracts, unexpired leases, secured financings, debt instruments and other such agreements. The
Debtors reserve all of their rights to amend the Schedules to the extent that additional guarantees
are identified or such guarantees are discovered to have expired or be unenforceable.

                     Specific Disclosures with Respect to the Debtors’ Statements

Question 1. The Debtors rely on consolidated financial statements, as required in accordance
with GAAP, in the ordinary course of the Debtors’ businesses. The Debtors’ existing books,
records and financial systems have been relied upon to identify the information requested,
therefore, the Debtors have provided consolidated revenues for the last three years on the
Statement filed by Ellett based on the Debtors’ consolidated accounting.



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 Fill in this information to identify the case and this filing:


                SportCo Holdings, Inc.
 Debtor Name __________________________________________________________________
                                                                               Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):     19-11299
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔
              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

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         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

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         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔
              Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.

                     07 / 24 / 2019
        Executed on ______________                         8    /s/ Dalton Edgecomb
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Dalton Edgecomb
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                                         Case 19-11299-LSS                                   Doc 181                 Filed 07/24/19                        Page 12 of 31

 Fill in this information to identify the case:

                      SportCo Holdings, Inc.
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                                                                                Delaware
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
                                       19-11299
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                                       0.00
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................
                                                                                                                                                                                                   Plus Unknown

     1b.   Total personal property:                                                                                                                                                                             0.00
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................                      Plus Unknown

     1c. Total of all property:                                                                                                                                                                                 0.00
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................                     Plus Unknown




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                   272,856,876.00
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                  $ ________________
                                                                                                                                                                                                   Plus Unknown
3.   Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                                0.00
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                  $ ________________
                                                                                                                                                                                                   Plus Unknown
     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:                                                                                                                                  0.00
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +   $ ________________
                                                                                                                                                                                                    Plus Unknown



4.   Total liabilities...................................................................................................................................................................         272,856,876.00
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b                                                                                                                                                                              Plus Unknown




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                               Case 19-11299-LSS               Doc 181           Filed 07/24/19          Page 13 of 31
  Fill in this information to identify the case:

               SportCo Holdings, Inc.
  Debtor name __________________________________________________________________

                                                                              Delaware
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
  Case number (If known):     19-11299
                              _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   
   ✔      No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                 Last 4 digits of account number
   3.1. _________________________________________________ ______________________               ____ ____ ____ ____               $______________________
   3.2. _________________________________________________ ______________________               ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                    $______________________
   4.2. _____________________________________________________________________________________________________                    $______________________

5. Total of Part 1
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   
   ✔      No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                  $______________________
   7.2._________________________________________________________________________________________________________                  $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                   page 1
                                Case 19-11299-LSS                Doc 181         Filed 07/24/19               Page 14 of 31
Debtor         SportCo Holdings, Inc.
               _______________________________________________________                                                 19-11299
                                                                                                Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
    ✔ No. Go to Part 4.
    
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........ Î                $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........ Î                $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
    ✔ Yes. Fill in the information below.
    
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
         United Sporting Companies, Inc.
   15.1._______________________________________________________________             100.00
                                                                                   ________%            _____________________                     Unknown
                                                                                                                                 $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4                                                                                                                             Unknown
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 2
                            Case 19-11299-LSS                   Doc 181       Filed 07/24/19        Page 15 of 31
Debtor          SportCo Holdings, Inc.
                _______________________________________________________                                          19-11299
                                                                                          Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    
    ✔ No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last      Net book value of    Valuation method used         Current value of
                                                    physical inventory    debtor's interest    for current value             debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

20. Work in progress
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________


23. Total of Part 5                                                                                                         $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    ✔ No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                 Net book value of    Valuation method used         Current value of debtor’s
                                                                          debtor's interest    for current value             interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

   ______________________________________________________________          $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________          $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________      $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                               page 3
                             Case 19-11299-LSS                   Doc 181          Filed 07/24/19        Page 16 of 31
Debtor          SportCo Holdings, Inc.
               _______________________________________________________                                               19-11299
                                                                                              Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    
    ✔ No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture

   ______________________________________________________________              $________________     ____________________      $______________________

40. Office fixtures

   ______________________________________________________________              $________________     ____________________      $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________     ____________________      $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 4
                            Case 19-11299-LSS                 Doc 181            Filed 07/24/19      Page 17 of 31
 Debtor         SportCo Holdings, Inc.
                _______________________________________________________                                           19-11299
                                                                                           Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    
    ✔ No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________      ____________________       $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
                              Case 19-11299-LSS                    Doc 181         Filed 07/24/19          Page 18 of 31
Debtor           SportCo Holdings, Inc.
                _______________________________________________________                                                 19-11299
                                                                                                 Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
    
    ✔ No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.

    55.1________________________________________            _________________     $_______________      ____________________        $_____________________

    55.2________________________________________            _________________     $_______________      ____________________        $_____________________

    55.3________________________________________            _________________     $_______________      ____________________        $_____________________

    55.4________________________________________            _________________     $_______________      ____________________        $_____________________

    55.5________________________________________            _________________     $_______________      ____________________        $_____________________

    55.6________________________________________            _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                    $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    
    ✔ No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of     Valuation method             Current value of
                                                                                  debtor's interest     used for current value       debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
    ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                     $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 6
                                Case 19-11299-LSS               Doc 181         Filed 07/24/19               Page 19 of 31
Debtor           SportCo Holdings, Inc.
                _______________________________________________________                                                19-11299
                                                                                                Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    
    ✔     No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                    _______________     –   __________________________         =Î   $_____________________
    ______________________________________________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________
78. Total of Part 11.
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
                                   Case 19-11299-LSS                            Doc 181               Filed 07/24/19                  Page 20 of 31
Debtor            SportCo Holdings, Inc.
                  _______________________________________________________                                                                     19-11299
                                                                                                                       Case number (if known)_____________________________________
                  Name




Part 12:        Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________


83. Investments. Copy line 17, Part 4.                                                                         Unknown
                                                                                                       $_______________

84. Inventory. Copy line 23, Part 5.                                                                   $_______________

85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                       $_______________
    Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________


88. Real property. Copy line 56, Part 9. . .................................................................................. Î              $________________

89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________


90. All other assets. Copy line 78, Part 11.                                                      +    $_______________


                                                                                                               Unknown
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................               Unknown
                                                                                                                                                                 $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
 Fill in this information toCase  19-11299-LSS
                             identify the case:                        Doc 181            Filed 07/24/19             Page 21 of 31
Debtor name      Sportco Holdings, Inc.
United States Bankruptcy Court for the:                                         District of    Delaware
                                                                                                (State)
Case number (If known):
                                 19-11299
                                                                                                                                                Check if this is an
Official Form 206D                                                                                                                              amended filing

Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

Part 1:                                                                                                                 Column A                               Column B
              List Creditors Who Have Secured Claims
                                                                                                                                 Amount of Claim         Value of collateral
2. List in alphabetical order all creditors who have secured claims.                                                                                     that supports this
                                                                                                                                     Do not deduct
If a creditor has more than one secured claim, list the creditor separately for each claim.                                               the value                   claim
2. 1      Creditor's name                                        Describe debtor's property that is subject to a lien
                                                                                                                                    $23,056,471.00           $78,387,847.20
          BANK OF AMERICA, N A, AS AGENT                         REVOLVING LINE OF CREDIT
s3263
                                                                 SECURED BY SUBSTANTIALLY ALL ASSETS
          Creditor's Mailing Address

          ATTENTION: TODD TARRANCE
          300 GALLERIA PARKWAY, SUITE 800
          ATLANTA, GA 30339



          Creditor's email address, if known
                                                                 Describe the lien
                                                                 REVOLVING CREDIT
          Date debt was incurred
          2002

          Last 4 digts of account number
                                                                 Is the creditor an insider or related party?
                                                                      No
          Do multiple creditors have an interest in the               Yes
          same property?                                         Is anyone else liable on this claim?
              No                                                     No.
              Yes. Have you already specified the                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              relative priority?

                 No. Specify each creditor, including this       As of the petition filing date, the claim is:
                 creditor and its relative priority.
                                                                 Check all that apply.
                                                                    Contingent
                 Yes. The relative priority of creditors            Unliquidated
                 is specified on lines
                                                                    Disputed




Official Form 206D                            Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 4
Debtor
                               Case
           Sportco Holdings, Inc.               19-11299-LSS          Doc 181            Filed 07/24/19             Page 22 of19-11299
                                                                                                                               31
          Name                                                                                                                  Case Number (if known)

Part 1:                                                                                                                  Column A                            Column B
                                                                                                                                Amount of Claim       Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                                                             that supports this
                                                                                                                                     Do not deduct
sequentially from the previous page.                                                                                                                               claim
                                                                                                                                          the value
2. 2     Creditor's name                                        Describe debtor's property that is subject to a lien
                                                                                                                                 $249,800,405.00          $78,387,847.20
         PROSPECT CAPITAL CORPORATION, AS AGENT                 SECOND LIEN LOAN
s3272
                                                                SECURED BY SUBSTANTIALLY ALL ASSETS
         Creditor's Mailing Address

         ATTN: GENERAL COUNSEL
         10 EAST 40TH STREET, 44TH FLOOR
         NEW YORK, NY 10016



         Creditor's email address, if known
                                                                Describe the lien
                                                                SECURED DEBT
         Date debt was incurred


         Last 4 digts of account number
                                                                Is the creditor an insider or related party?
                                                                     No
         Do multiple creditors have an interest in the               Yes
         same property?                                         Is anyone else liable on this claim?
             No                                                     No.
             Yes. Have you already specified the                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             relative priority?

                No. Specify each creditor, including this       As of the petition filing date, the claim is:
                creditor and its relative priority.
                                                                Check all that apply.
                                                                   Contingent
                Yes. The relative priority of creditors            Unliquidated
                is specified on lines                              Disputed




Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                                page 2 of 4
Debtor
                                Case
            Sportco Holdings, Inc.            19-11299-LSS                 Doc 181           Filed 07/24/19              Page 23 of19-11299
                                                                                                                                    31
           Name                                                                                                                    Case Number (if known)

Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

    Name and address                                                                                     On which line in Part 1 did you                Last 4 digts of account
                                                                                                         enter the related creditor?                    number for this entity



     RICHARDS LAYTON & FINGER, PA                                                                        s3263
     JOHN H KNIGHT & AMANDA R. STEELE
     ONE RODNEY SQUARE
     920 NORTH KING ST.
     WILMINGTON, DE 19801

     WINSTON & STRAWN LLP                                                                                s3263
     CARRIE V. HARDMAN
     GREGORY M. GARTLAND
     200 PARK AVENUE
     NEW YORK, NY 10166-4193

     WINSTON & STRAWN LLP                                                                                s3263
     DANIEL J. MCGUIRE
     35 W WACKER DRIVE
     CHICAGO, IL 60601-9703

     BLANK ROME LLP                                                                                      s3272
     JOHN E. LUCIAN, ESQ
     ONE LOGAN SQUARE
     130 NORTH 18TH STREET
     PHILADELPHIA, PA 19103-6998

     BLANK ROME LLP                                                                                      s3272
     REGINA KELBON
     VICTORIA A. GUILFOYLE
     1201 N MARKET STREET, SUITE 800
     WILMINGTON, DE 19801

     OLSHAN FROME WOLOSKY LLP                                                                            s3272
     JONATHAN T. KOEVARY
     ADAM H FRIEDMAN
     1325 AVENUE OF THE AMERICAS
     NEW YORK, NY 10019




Official Form 206D                          Schedule D: Creditors Who Have Claims Secured by Property                                                       page 3 of 4
                             Case 19-11299-LSS
          Sportco Holdings, Inc.
                                                          Doc 181       Filed 07/24/19         Page 24 of19-11299
                                                                                                          31
Debtor
          Name                                                                                       Case Number (if known)

Part 3:     Total Amounts of the Claims Secured by Property

                                                                                                           Total of Claim Amounts


3a. Total of the dollar amounts from Part 1, Column A,
including the amounts from the Additional Page, if any.                                 3a.                    $272,856,876.00
                                                                                                   ____________________________




Official Form 206D                 Schedule D: Creditors Who Have Claims Secured by Property                              page 4 of 4
 Fill in this information toCase  19-11299-LSS
                             identify the case:                      Doc 181             Filed 07/24/19              Page 25 of 31
Debtor name       Sportco Holdings, Inc.
United States Bankruptcy Court for the:                                         District of   Delaware
                                                                                              (State)
Case number (If known):
                                19-11299
                                                                                                                                     Check if this is an
Official Form 206E/F                                                                                                                 amended filing

Schedule E/F: Creditors Who Have Unsecured Claims                                                                                     12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official
Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the
Additional Page of that Part included in this form.

Part 1:        All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims?

         No. Go to Part 2
         Yes                                                                                                                                    Priority Amount
                                                                                                                             Total Claim
2. 1   Priority creditor's name and mailing address                  As of the petition filing date, the claim is:

                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed


       Date or dates debt was incurred                               Basis for the claim:



       Last 4 digts of account number

                                                                     Is the claim subject to offset?
       Specify Code subsection of PRIORITY unsecured                      No
       claim: 11 U.S.C. § 507(a) (________)                               Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 4
  Sportco Holdings, Inc. Case              19-11299-LSS         Doc 181       Filed 07/24/19               Page 26 19-11299
                                                                                                                   of 31
  Debtor Name                                                                                                       Case Number (if known)


Part 2:       All Creditors with NONPRIORITY Unsecured Claims
3. Do any creditors have nonpriority unsecured claims?

        No.
        Yes                                                                                                                                  Amount of Claim
3. 1   Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is:

                                                                            Check all that apply.
                                                                               Contingent
                                                                               Unliquidated
                                                                               Disputed


       Date or dates debt was incurred                                      Basis for the claim:

       Last 4 digts of account number
                                                                            Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 2 of 4
  Sportco Holdings, Inc. Case                 19-11299-LSS                Doc 181            Filed 07/24/19              Page 27 19-11299
                                                                                                                                 of 31
  Debtor Name                                                                                                                    Case Number (if known)


Part 3:      List Others to Be Notified About Unsecured Claims
List in alphabetical order any others who must be notified for claims already listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy this page.

    Name and address                                                                                     On which line in Part 1 or Part 2 did           Last 4 digts of account
                                                                                                         you enter the related creditor?                 number for this entity




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                                  page 3 of 4
 Sportco Holdings, Inc. Case       19-11299-LSS         Doc 181       Filed 07/24/19       Page 28 19-11299
                                                                                                   of 31
 Debtor Name                                                                                    Case Number (if known)


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                    Total of Claim Amounts



5a. Total Claims from Part 1                                                         5a.                           $0.00
                                                                                                ____________________________




                                                                                                                   $0.00
5b. Total Claims from Part 2                                                         5b.    +   ____________________________




5c. Total of Parts 1 and 2                                                           5c.                           $0.00
                                                                                                ____________________________
    Lines 5a + 5b = 5c.




Official Form 206E/F             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 4 of 4
                                Case 19-11299-LSS                Doc 181        Filed 07/24/19            Page 29 of 31
  Fill in this information to identify the case:
  Debtor name Sportco Holdings, Inc.

  United States Bankruptcy Court for the:                                     District of   Delaware
                                                                                            (State of)
  Case Number (if known):       19-11299                                        Chapter     11                                   Check if this is an
                                                                                                                                 amended filing

Official Form 206G
SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                                                                              12/15

  Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.
  1. Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the court with the debtor’s other schedules.
       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).

2. List all contracts and unexpired leases                                                          State the name and mailing address for all
                                                                                                    other parties with whom the debtor has an
                                                                                                    executory contract or unexpired lease
           State what the contract or      EMPLOYMENT AGREEMENT                                     BRADLEY JOHNSON
2. 1       lease is for and the nature                                                              267 COLUMBIA AVENUE
           of the debtor’s interest                                                                 CHAPIN, SC 29036
           State the term remaining
          List the contract number of
          any government contract


           State what the contract or      TERMINATION AGREEMENT                                    MICHELLE MOSIER
2. 2       lease is for and the nature                                                              267 COLUMBIA AVENUE
                                           TERMINATION OF EMPLOYMENT &
           of the debtor’s interest                                                                 CHAPIN, SC 29036
                                           CONSULTING ARRANGEMENT
           State the term remaining
          List the contract number of
          any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 1
                                Case 19-11299-LSS               Doc 181          Filed 07/24/19           Page 30 of 31
 Fill in this information to identify your case:
 Debtor 1       Sportco Holdings, Inc.

 United States Bankruptcy Court for the:                                     District of   Delaware
                                                                                           (State of)
 Case Number (if known):       19-11299                                        Chapter     11                                         Check if this is an
                                                                                                                                      amended filing

 Official Form 206H
 SCHEDULE H - CODEBTORS                                                                                                                            12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
 consecutively. Attach the Additional Page to this page.


  1. Do you have any codebtors?
       No Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in
     the schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the
     creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a
     debt to more than one creditor, list each creditor separately in Column 2.
         Column 1: Codebtor                                                    Column 2: Creditor                                  Check all schedules
                                                                                                                                   that apply:
         Name and Mailing Address                                              Name
         BONITZ BROTHERS, INC.                                                 BANK OF AMERICA, N A, AS AGENT                         D (s3263)
2.1      267 COLUMBIA AVENUE
         CHAPIN, SC 29036                                                                                                             E/F

                                                                                                                                      G


         BONITZ BROTHERS, INC.                                                 PROSPECT CAPITAL CORPORATION, AS                       D (s3272)
2.2      267 COLUMBIA AVENUE                                                   AGENT
         CHAPIN, SC 29036                                                                                                             E/F

                                                                                                                                      G


         ELLETT BROTHERS, LLC                                                  BANK OF AMERICA, N A, AS AGENT                         D (s3263)
2.3      267 COLUMBIA AVENUE
         CHAPIN, SC 29036                                                                                                             E/F

                                                                                                                                      G


         ELLETT BROTHERS, LLC                                                  PROSPECT CAPITAL CORPORATION, AS                       D (s3272)
2.4      267 COLUMBIA AVENUE                                                   AGENT
         CHAPIN, SC 29036                                                                                                             E/F

                                                                                                                                      G


         EVANS SPORTS, INC.                                                    BANK OF AMERICA, N A, AS AGENT                         D (s3263)
2.5      267 COLUMBIA AVENUE
         CHAPIN, SC 29036                                                                                                             E/F

                                                                                                                                      G


         EVANS SPORTS, INC.                                                    PROSPECT CAPITAL CORPORATION, AS                       D (s3272)
2.6      267 COLUMBIA AVENUE                                                   AGENT
         CHAPIN, SC 29036                                                                                                             E/F

                                                                                                                                      G




Official Form 206H                                          Schedule H: Codebtors                                                    Page 1 of 2
                            Case 19-11299-LSS      Doc 181     Filed 07/24/19         Page 31 of 31
 Debtor Sportco Holdings, Inc.                                          Case Number (if known):   19-11299
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                   Column 2: Creditor                             Check all schedules
                                                                                                             that apply:
         Name and Mailing Address                             Name
         JERRY`S SPORTS, INC.                                 BANK OF AMERICA, N A, AS AGENT                   D (s3263)
2.7      267 COLUMBIA AVENUE
         CHAPIN, SC 29036                                                                                      E/F

                                                                                                               G


         JERRY`S SPORTS, INC.                                 PROSPECT CAPITAL CORPORATION, AS                 D (s3272)
2.8      267 COLUMBIA AVENUE                                  AGENT
         CHAPIN, SC 29036                                                                                      E/F

                                                                                                               G


         OUTDOOR SPORTS HEADQUARTERS, INC.                    BANK OF AMERICA, N A, AS AGENT                   D (s3263)
2.9      267 COLUMBIA AVENUE
         CHAPIN, SC 29036                                                                                      E/F

                                                                                                               G


         OUTDOOR SPORTS HEADQUARTERS, INC.                    PROSPECT CAPITAL CORPORATION, AS                 D (s3272)
2.10     267 COLUMBIA AVENUE                                  AGENT
         CHAPIN, SC 29036                                                                                      E/F

                                                                                                               G


         SIMMONS GUN SPECIALTIES, INC.                        BANK OF AMERICA, N A, AS AGENT                   D (s3263)
2.11     267 COLUMBIA AVENUE
         CHAPIN, SC 29036                                                                                      E/F

                                                                                                               G


         SIMMONS GUN SPECIALTIES, INC.                        PROSPECT CAPITAL CORPORATION, AS                 D (s3272)
2.12     267 COLUMBIA AVENUE                                  AGENT
         CHAPIN, SC 29036                                                                                      E/F

                                                                                                               G


         UNITED SPORTING COMPANIES, INC.                      BANK OF AMERICA, N A, AS AGENT                   D (s3263)
2.13     267 COLUMBIA AVENUE
         CHAPIN, SC 29036                                                                                      E/F

                                                                                                               G


         UNITED SPORTING COMPANIES, INC.                      PROSPECT CAPITAL CORPORATION, AS                 D (s3272)
2.14     267 COLUMBIA AVENUE                                  AGENT
         CHAPIN, SC 29036                                                                                      E/F

                                                                                                               G




Official Form 206H                              Schedule H: Codebtors                                          Page 2 of 2
